   Case 1:16-cr-00184-DLH   Document 69     Filed 12/28/17   Page 1 of 17




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NORTH DAKOTA
                         WESTERN DIVISION

UNITED STATES OF AMERICA,
                                          Case No. 1:16-cr-184
           Plaintiff,

           v.

WILLIAM ANTHONY FLY,

           Defendant.



        UNITED STATES’ REQUESTED JURY INSTRUCTIONS




                                   1
        Case 1:16-cr-00184-DLH      Document 69      Filed 12/28/17   Page 2 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184


          UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 01

        The Court is requested to provide a copy of the Superseding Indictment to the

jury.




                                             2
      Case 1:16-cr-00184-DLH        Document 69      Filed 12/28/17    Page 3 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

            UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 02

                                         VENUE

       The United States must prove by the preponderance of the evidence that the

offenses charged began, continued or were completed in the District of North Dakota.

       To prove something by the preponderance of the evidence is to prove that it is

more likely true than not true. This is a lesser standard than proof beyond a reasonable

doubt. The requirement of proof beyond a reasonable doubt applies to all other issues in

the case.




Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
' 3.13 (2014) (as modified)

                                            3
      Case 1:16-cr-00184-DLH         Document 69      Filed 12/28/17     Page 4 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

           UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 03

           DESCRIPTION OF CHARGES; PRESUMPTION OF INNOCENCE

       The Superseding Indictment in this case charges the defendant with transportation

with intent to engage in criminal sexual activity in violation of Title 18, United States

Code, Section 2421(a).

       A Superseding Indictment is simply an accusation. It is not evidence of anything.

To the contrary, defendant is presumed to be innocent of the crimes. Thus, the defendant,

even though charged, begins the trial with no evidence against him. The presumption of

innocence alone is sufficient to find defendant not guilty and can be overcome only if the

United States proves, beyond a reasonable doubt, each essential element of the crimes

charged.




Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
' 3.06 (2014) (as modified)


                                              4
      Case 1:16-cr-00184-DLH         Document 69      Filed 12/28/17     Page 5 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

          UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 04

 DESCRIPTION OF CHARGE – TRANSPORTATION WITH INTENT TO ENGAGE

                          IN CRIMINAL SEXUAL ACTIVITY

       The Superseding Indictment charges that William Anthony Fly knowingly

transported C.F. across state lines with the intent to engage in a sexual act with C.F. for

which a person may be charged with a crime, in violation of Title 18, United States Code,

Section 2421(a), which provides, in pertinent part, that:

       [w]hoever, knowingly transports any individual in interstate or foreign commerce,
       or in any Territory or Possession of the United States, with the intent that such
       individual engage in…any sexual activity for which any person can be charged
       with a criminal offense…

shall be guilty of an offense against the United States.




Title 18, United States Code, Section 2421(a)


                                              5
         Case 1:16-cr-00184-DLH       Document 69      Filed 12/28/17    Page 6 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184


            UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 05

       TRANSPORTATION WITH INTENT TO ENGAGE IN CRIMINAL SEXUAL

                          ACTIVITY – ESSENTIAL ELEMENTS

         The crime of interstate transportation of an individual to engage in criminal sexual

activity, as charged in the Superseding Indictment, has two elements:

         One, the defendant knowingly transported his daughter, C.F., across a state line or

across a national border; and

         Two, the defendant transported C.F. with the intent that C.F. engage in sexual

activity for which a person can be charged with a criminal offense.

         Sexual activity for which a person can be charged with a criminal offense means

aggravated sexual abuse or incest.

         Aggravated sexual abuse is a crime under the laws of the United States.

Aggravated sexual abuse means that a person knowingly causes another person to engage

in a sexual act by using force against that other person. 1

         Incest is a crime under the laws of the state of Texas. Incest means a person

engages in sexual intercourse with another person the actor knows to be the actor’s

ancestor or descendant by blood or adoption. 2




1
    Title 18 United States Code, Section 2241(a)(1)
2
    Texas Penal Code § 25.02(a)
                                               6
      Case 1:16-cr-00184-DLH       Document 69      Filed 12/28/17    Page 7 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

      For you to find the defendant guilty of the crime charged in Count One of the

Indictment, the United States must prove each of these essential elements beyond a

reasonable doubt; otherwise you must find the defendant not guilty of this crime.




Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
§ 6.18.2421 (2014) (in part).

Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
§ 3.09 (2014) (in part).




                                            7
      Case 1:16-cr-00184-DLH        Document 69      Filed 12/28/17    Page 8 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 06

                              “BETWEEN IN OR ABOUT”

       The Indictment charges that the offense alleged in Counts One was committed

“between in or about February 2016 and in or about May 2016”.

       Although it is necessary for the United States to prove beyond a reasonable doubt

that the offense was committed on a date reasonably near the dates alleged in the

Superseding Indictment, it is not necessary for the United States to prove that the

offenses were committed precisely on the dates charged.




1A O’Malley, Grenig & Lee, Federal Jury Practice and Instructions § 13.05 (6th ed.
2015) (as modified)


                                             8
      Case 1:16-cr-00184-DLH        Document 69       Filed 12/28/17     Page 9 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

          UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 07

                                   “FORCE” DEFINED

       “Force” as used in these instructions may be found if there was:

              (1) the use, or threatened use of a weapon;

              (2) the use of physical force sufficient to overcome, restrain, or injure a
                  person;

              (3) the use of a threat of harm sufficient to coerce or compel submission by
                  the victim; or

              (4) force sufficient to prevent a victim from escaping.

       The fact that a victim was able to escape from the sexual contact or sexual act does

not prevent a finding that the sexual contact or sexual act was caused by force if the

sexual contact or sexual act, or attempt, prior to the victim’s escape was accomplished by

the use of force.




United States v. Allery, 139 F.3d 609, 611-12 (8th Cir.), cert. denied, 524 U.S. 962
(1998)

                                              9
     Case 1:16-cr-00184-DLH       Document 69       Filed 12/28/17    Page 10 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 08

                              “SEXUAL ACT” DEFINED

      “Sexual act” as used in these instructions may be found if there was:

             (1) contact between the penis and the vulva or the penis and the anus;

             (2) contact between the mouth and the penis, the mouth and the vulva, or
                 the mouth and the anus; or

             (3) the penetration, however slight, of the anal or genital opening of another
                 by a hand or finger or by any object, with an intent to abuse, humiliate,
                 harass, degrade, or arouse or gratify the sexual desire of any person.




Title 18, United States Code, Section 2246(2)




                                           10
        Case 1:16-cr-00184-DLH      Document 69      Filed 12/28/17    Page 11 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

           UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 09

                          “SEXUAL INTERCOURSE” DEFINED

         “Sexual intercourse” as used in these instructions may be found if there was any

penetration of the female sex organ by the male sex organ. 3




3
    Texas Penal Code Section 25.02(b)(2)
                                             11
      Case 1:16-cr-00184-DLH       Document 69       Filed 12/28/17   Page 12 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 10

                                    “KNOWINGLY”

       An act is done knowingly if the defendant is aware of the act and does not act

through ignorance, mistake or accident. The United States is not required to prove that

the defendant knew that his acts or omissions were unlawful. You may consider

evidence of the defendant’s words, acts, or omissions, along with all the other evidence,

in deciding whether the defendant acted knowingly.




Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
§ 7.03, Committee Comments (2014)


                                            12
      Case 1:16-cr-00184-DLH        Document 69      Filed 12/28/17     Page 13 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 11

                       “PROOF OF KNOWLEDGE OR INTENT”

       The intent of a person or the knowledge that a person possesses at any given time

may not ordinarily be proved directly because there is no way of directly scrutinizing the

workings of the human mind. In determining the issue of what a person knew or what a

person intended at a particular time, you may consider any statements made or acts done

by that person and all other facts and circumstances received in evidence which may aid

in your determination of that person’s knowledge or intent.

       Further, the intent of the defendant to have transported C.F. across state lines to

engage in criminal sexual activity must be a motivating or dominant factor; however, it

need not be the sole purpose in making the interstate journey.




1A O’Malley, Grenig & Lee, Federal Jury Practice Instructions § 17:07 (6th ed. 2015) (as
modified)

Mortensen v. United states, 322 U.S. 369, 374 (1944).


                                             13
      Case 1:16-cr-00184-DLH       Document 69      Filed 12/28/17   Page 14 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184


         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 12

                               INFERENCES – DEFINED

       Inferences are simply deductions or conclusions which reason and common sense

lead the jury to draw from the evidence received in the case.




1A O’Malley, Grenig & Lee, Federal Jury Practice Instructions § 12.05 (6th ed. 2015)


                                            14
      Case 1:16-cr-00184-DLH       Document 69      Filed 12/28/17     Page 15 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

         UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 13

                   DIRECT AND CIRCUMSTANTIAL EVIDENCE

       There are two kinds of evidence: direct and circumstantial. Direct evidence is

direct proof of a fact, such as testimony of an eyewitness. Circumstantial evidence is

indirect evidence, which is, proof a chain of facts from which you could find that another

fact exists, even though it has not been proved directly. You are entitled to consider both

kinds of evidence. The law permits you to give equal weight to both, but it is for you to

decide how much weight to give to any evidence.

       The essential elements of a crime may be proved by circumstantial evidence alone.

It is for you to decide whether a fact has been proved by circumstantial evidence. In

making that decision, you must consider all the evidence in the light of reason, common

sense and experience.




1A O’Malley, Grenig & Lee, Federal Jury Practice and Instructions § 12.04 (6th ed.
2015) (as modified)


                                            15
      Case 1:16-cr-00184-DLH       Document 69       Filed 12/28/17    Page 16 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

          UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 14

   DEFENDANT’S PRIOR SIMILAR ACTS IN SEXUAL ASSAULT AND CHILD
          MOLESTATION CASES (FED. R. EVID. 413 AND 414)

       You have heard evidence that the defendant may have previously committed other

offenses of sexual assault and child molestation. The defendant is not charged with these

other offenses. You may consider this evidence only if you unanimously find it is more

likely true than not true. You decide that by considering all of the evidence and deciding

what evidence is more believable. This is a lower standard than proof beyond a

reasonable doubt.

       You may consider evidence of other acts of sexual assault and child molestation to

help you decide any matter to which they are relevant. You should give them the weight

and value you believe they are entitled to receive. You may consider the evidence for its

tendency, if any, to show the defendant’s propensity, intent, motive, knowledge, or

opportunity to engage in sexual assault or child molestation, as well as its tendency to

determine whether the defendant committed the act charged in the Superseding

Indictment.




Manual of Model Criminal Jury Instructions for the District Courts of the Eighth Circuit
§ 2.08A (2014) (as modified)


                                            16
      Case 1:16-cr-00184-DLH        Document 69       Filed 12/28/17    Page 17 of 17




United States v. William Anthony Fly, Crim. Case No. 1:16-cr-184

          UNITED STATES’ REQUESTED JURY INSTRUCTION NO. 15

                                      PUNISHMENT

       The punishment provided by law for the offenses charged in the Indictment is a

matter exclusively within the province of the Court, and should never be considered by

the jury in any way in arriving at an impartial verdict as to the guilt or innocence of the

defendant.




1A O’Malley, Grenig & Lee, Federal Jury Practice and Instructions § 20.01 (6th ed.
2015) (in part)

                                             17
